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“EXHIBIT A”

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SETTLEMENT AGREEMENT AND FULL AND
FINAL RELEASE OF ALL CLAIMS

This Settlement Agreement and Full and Final Release of All Claims (hereinafter
“Agreement”) is entered into by and among ROGER ECI-lOLS (hereinafter, “l’laintiff”), and
METRO BROKERS, lNC. (“Defendant”). Plaintiff and Defendant are collectively referred tc
herein as “the parties.”

BACKGR()UND INFORMATION

A. On February 12, 2015, Plaintiff filed a complaint in the United States District
Court for the Northern District of Georgia, Atlanta Division, styled Roger Echols, on behalf of
himself and aff Similarly Siluated individuals vs. Meh"o Brokers, Irrc., Civil Action No. l:lS-CV-
0426 (hereinafter referred to as the “Litigation”), which action arises out of or relates to the
employment of or work allegedly performed by Plaintiff.

B. Pursuant to the Litigation, Plaintiff alleges that Defendant intentionally and
willfully failed to pay him overtime compensation on one or more workweeks during the three-
year period preceding the filing of the Litigation as required under the Fair Labor Standards Act
(“FLSA”). Plaintiff further alleges that Defendant failed to pay him for preliminary computer
start-up and log-in time and for other off-the~clock work.

C. Defendant denies Plaintiff’s allegations as asserted in the Complaint and denies
that Plaintiff was similarly situated to other current and former employees of Defendant.

Defendant further asserts that it has acted at all times in good faith compliance with all federal
and state laws.

D. Despite their conflicting views, Plaintiff and Defendant desire to enter into an
agreement to fully and finally resolve the Litigation, all monetary damages and other relief of
any nature whatsoever alleged in or sought in the Litigation, and any and all FLSA or wage-
related claims or disputes, that have been made or could have been made by or on behalf of
Plaintiff against Defendant relating to conduct or events occurring at any time prior to and
including the date on which this Agreement is executed

E. Plaintiff Warrants and represents that he has not assigned any of his claims against
Defendant or any other person or entity to be released in this Agreement and that no attorney
other than lohnson Becker, PLLC, Somrners Schwartz, P.C., and Barrett & Farahany, LLP have
a claim for attorneys’ fees and/or costs arising from Plaintiff’s claims released in this Settlement
Agreement.

F. This Agreement constitutes a good faith settlement of all of Plaintiff’s disputed
claims against Defendant, and shall not be deemed in any manner an admission, finding, or
indication, for any purposes whatsoever, that Def`endant, or any of its respective officers,
employees, and/or other agents (including any parent, subsidiary, or other entity related to or
affiliated with Defendant) acted contrary to law or violated the rights of Plaintiff or any other

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person at any time.

NOW, THEREFORE, in exchange for good and valuable consideration, the sufficiency
and receipt of which are hereby acknowledged the Parties hereto agree as follows:

STATEMENT OF AGREEMENT

The Parties hereby acknowledge, and rely upon as material to this agreement, the
accuracy of the above Background lnformation and hereby agree as follows:

l. Consideration. ln consideration of this Agreement and other good and sufficient
consideration, including Plaintiff’ s agreement to dismiss with prejudice the Litigation,
Defendants will tender to Plaintiff the gross amount of ELEVEN THOUSAND AND FIFTY
DOLLARS (S11,050.()0), payable as follows (subject to the provisions of Sections 2-4, below):

a. Wage Income. $1,7'75.00 (1ess withholdings and deductions) payable to
Plaintiff for unpaid wages, which must be received by Plaintiff’s counsel on
or before fourteen (14) days (or the next business day if such day is a weekend
or bank holiday) after the court approves the Parties’ joint motion for approval
of this Agreement, as provided in Section 2, below;

b. Ncn-Wage Income. S1,775.00 (with no withholdings or deductions) payable
to Plaintiff for FLSA liquidated damages, which must be received by
Plaintift`s counsel within the deadline set forth in paragraph l(a), above or
within thirty (3 0) days after a completed W-9 for Plaintiff has been submitted
to Defendant, whichever date last occurs. rl`he settlement amount paid to
Plaintiff for his alleged FLSA liquidated damages in Section l(b) shall be paid
Without any deduction for any taxes or other withholdings (“1099 Payments”)
by separate check payable to Plaintiff in the amounts stated above;

c. Attornevs’ Fees and Expenses. $7,500.00, payable to Johnson Becker, PLLC
for Plaintiff"s attorneys’ fees and costs of litigation, which must be received
by Plaintift’s counsel within the deadline set forth in paragraph l(a), above or
within thirty (30) days aher a completed W-9 for Johnson Becker, PLLC has
been submitted to Defendant, whichever date last occurs. The settlement
amounts paid to Plaintiff s counsel of record for fees and costs under Section
l(c) constitute payment to resolve all disputed claims for attorneys’ fees and
costs in connection with the Litigation.

Plaintiff represents and warrants that the payments Set forth in Section l(a) and (b) constitute

payment of one hundred percent (100%) of Plaintiff’s claims for alleged unpaid back wages and
alleged liquidated damages under the FLSA, net of any attorneys’ fees and costs.

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2. Settlement Approval. The Parties agree that, upon execution of this Agreement,
they shall file a joint motion for approval of this Agrecrnent with the United States District ludge
before whom this Litigation is pending for the purposes of obtaining court approval in
accordance with the Fair Labor Standards Act, 29 U.S.C. § 201 et saq. All Parties agree that
they will set the joint motion for hearing as soon as possible, if necessary After thc court
approves the settlement of this Litigation, Defendants will transmit the payments required to
Plaintiff’ s counsel within fourteen (14) business days as set forth in Section l(a) above. If the
District Court does not approve this Agreement, it shall be void ab initio.

3. Dismissal. Upon judicial approval of the Agreement and Plaintift”s receipt of the
payrnents, the Parties, through counsel of record, agree to fully execute and file the Stipulation of
Dismissal with Prejudice attached hereto as Attachrnent A, with the court within two (2) business
days and only to the extent that the Couit’s Order approving the Agreement does not also order
the dismissal of Plaintiffs Complaint with prejudice

4. Executicn. This Agreement shall become effective upon its execution The
Parties may execute this Agreement in counterparts, and execution in counterparts shall have the
same force and effect as if the Parties had signed the same instrument Execution delivered by
facsimile or electronic mail to the Parties’ counsel of record shall be deemed effective as if
executed in original Each person executing this Agreement, including execution on behalf of
Defendant, warrant and represent that such person has the authority to do so.

5. Complete Release of Wage-Related Claims by Plaintif`f. Plaintiff irrevocably and
unconditionally releases all monetary damages and other relief of any nature whatsoever alleged
in the Litigation, and any and all other FLSA or wage-related claims or disputes against
Defendant and all of its past and current owners, directors, officers, trustees, employees,
affiliates, agents and related parties (“Released Parties”), relating to conduct or events occurring
at any time prior to and including the date on which this Agreement is executed (“Released
Claims”). Plaintiff understands that he is releasing the Released Parties from Released Clairns
that he may not know about That is Plaintiff’s knowing and voluntary intent. Plaintiff` expressly
waives all rights he might have under any law that is intended to protect him from waiving
unknown claims However, Plaintiff is not releasing any claim that relates to: (l) the right to
enforce this Agreement; (2) any rights or claims that arise after signing this Agreement; and (3)
any rights or claims that cannot be lawfully released

6. Pursuit of Released Claims. Other than the Litigation, Plaintiff represents and
warrants that he has not filed or caused to be filed any demand for arbitration lawsuit, any
complaint, charge, or claim with respect to any Released Claim, and promises never to file or
prosecute any demand for arbitration lawsuit, or complaint based on any such claim. Plaintiff
understands that while he is not precluded from filing a charge with an administrative agency, he
promises never to seek any damages, remedies, or other relief for himself personally (any right to

which he hereby waives) by filing or prosecuting a charge with any administrative agency with
respect to such claim.

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7. Waiver of Right to Seek Re-Emr)loyment. Plaintiff agrees to refrain from ever
knowingly Seeking employment in any capacity with Defendant or its subsidiaries, divisions and
affiliates Plaintiff waives any right or entitlement to such employment and understands and
acknowledges that he does not now and will not ever have any right or entitlement to such
employment

8. Non- Disparagement. Plairitiff agrees that he will not criticize, denigrate or
disparage anyof_ the Released Parties in any cormner_rt_s or statements - will advrs §ts
executive management team not to criticize denigrate or. disparage iff-to third‘partres ln
the event a potential future employer of Plaintiff contacts Defendant to inquire about Plaintrff’ s
employment with Defendant, Defendant will only state Plaintiff"s dates of employment and

position(s) held.

       
     

9. Pavment of Annlicable Taxes. Plaintiff is and shall be solely responsible for all
federal, state and local taxes that may be owed by Plaintiff by virtue of the receipt of any portion
of the monetary payment provided under this Agreernent. Defendant will be solely responsible
for the employer’s share of any required taxes. Plaintiff agrees to hold harmless Defendant from
any and all liability, including, without limitation, all penalties, interest, and other costs that may
be imposed by the lntcrnal Rcvenue Service or other governmental agencies regarding any of

Plaintiff’s tax obligations that may arise from the monetary consideration made to Plaintiff under
this Agreement. '

10. Severabilig. lt is the desire and intent of the parties that the provisions of this
Agreement shall be enforced to the fullest extent permissible Accordingly, if any particular
paragraph(s), Subparagraph($) or portion(s) of this Agreement shall be adjudicated to be invalid
or unenforceable as written, such paragraph(s), subparagraph(s) or portion(s) shall be modified to
the extent necessary to be valid or enforceable Such modification shall not affect the remaining
provisions of this Agreement. To the extent any paragraph(s), subparagraph(s) or poition(s) of
this Agreement are found invalid or unenforceable and cannot be modified to be made valid or
enforceable, then the Agreement shall be construed as if that paragraph(s), subparagraph(s) or
portion(s) was deleted, and all remaining terms and provisions shall be enforceable in law or
equity in accordance with their terms

ll. No Admissicn. Neither the execution nor performance hereof, nor any
representation or covenant contained herein, shall be considered or construed as an admission of
liability on the part of any of the Paities hereby releasedl lt is understood and agreed by the
Parties that this Agreement is a compromise of disputed claims, and the payments are not to be

construed as an admission of liability on the part of the Parties hereby released, by each of whom
liability is expressly denied

12. Entire Agreement. This Agreement contains the entire agreement and
understanding between the parties with respect to its subject matter, and this Agreement
supersedes all other agreements between the parties with regard to such disputes or claims
Plaintiff affirms that the only consideration for his decision to execute and execution of this

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Agreemerit are the terms stated herein and that there are no other promises or arrangements of
any kind which have caused Plaintiff to execute the Agreement; that he fully understands the
meaning and intent of the Agreement, iiicluding, but not limited to, its final and binding effect;
and that he has consulted legal counsel before executing the Agreenient. Any modification or
change to this Agreement must be made in writing and signed by all Parties,

13. Construction. The language contained in this Agreernent shall be deemed to be
approved jointly by the Parties, and no rule of strict construction shall be applied against any
Paity hercto. Paragraph headings used in this Agreement are for reference only and are not
substantive terms nor intended to modify the meaning or intent of the paragraph. No provision
of this Agreement is inferred or shall be interpreted or applied so as to preclude any Party to this
Agreement from complying with any federal, state, or local law, rule, or regulation

14. Choice of Law & Choice of Venue. The terms of this Agreement shall be
governed and construed pursuant to the law of the State of Georgia. The parties further agree
that that any actions arising under, or to enforce, this Agreement shall be brought exclusively in
the United States District Court for the Northei"n District of Georgia, provided that, if the United
States District Court for the Northem District of Georgia declines to exercise jurisdiction over
such action, such action shall be filed in the Fulton County Superior Court in Atlanta, Georgia.
The parties hereby expressly consent to jurisdiction and venue in Atlanta, Georgia and waive any
defenses related to jurisdiction or venuc.

15. Knowing and Voluntarv Waiver. Plaintiff hereby affirms and acknowledges that
Plairitiff has read the foregoing Agreement and has had the opportunity to consult with an
attorney of Plaintiff’s choosing, before signing it. Plaintiff further affirms that he understands
the meaning of the terms of this Agreenient and their effect and that he agrees that the provisions
set forth in the Agreement are written in language that he understands; that thc payment referred
to in this Agreement exceeds that to which he would otherwise have been entitled; that the actual
payment is in exchange for his release of the claims referenced in this Agreement; and that

Plaintiff enters into this Agreement freely and voluntarily with full knowledge of its
implications

[SIGNATURES APPEAR ON THE FOLLOWING PAGE]

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IN WIT'NESS WILEREOF, the undersigned have executed this Settlemcm Agreemeiit
and Releasc effective on the date(s) set forth below.

AGR.E`.ED AN'D ACCEPTED

Roger F.ehol\ls"
sra:il@l emg ,_

AGREllJD AND ACCEPTED

By: Merro Flr kers_. lnc.

 

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